                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                 3:00cr137

UNITED STATES OF AMERICA,                          )
                                                   )
                                                   )
Vs.                                                )             ORDER
                                                   )
FREEMAN LEE ROGERS, JR.,                           )
                                                   )
                 Defendant.                        )
_______________________________                    )

       THIS MATTER is before the court on defendant’s pro se Letter (#348), in which

defendant seeks clarification from the court about the restitution order contained in

defendant’s Judgment (#22). According to defendant, his mother passed away in 2007, and

during the settlement of her estate in the years that followed, the outstanding restitution was

satisfied by seizing defendant’s share of the estate.

       Having reviewed the pleadings, the court notes that defendant was convicted of

conspiracy to possess with intent to distribute cocaine and cocaine base and using and

carrying a firearm during and in relation to a drug trafficking crime resulting in murder.

Judgment, p. 1. The Judgment includes an order to pay $2,758.75 in victim restitution and

notes that “defendant is jointly and severally liable with co-defendants for the total amount

of restitution” Id., p. 6. The court had discretion at sentencing to “make each defendant

liable for payment of the full amount of restitution” or to “apportion liability among the

defendants,” 18 U.S.C. § 3664(I), and, indeed, the court determined that defendant was

jointly and severally liable. Defendant does not indicate whether he appealed the restitution

order at the time of sentencing or whether he raised the issue on appeal. See United States

v. Ubakanma, 215 F.3d 421, 427 (4 th Cir. 2000) (limiting the appellate court’s review to plain

error). Furthermore, federal law requires that if a person who is :




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              obligated to provide restitution, or pay a fine, receives
              substantial resources from any source, including inheritance,
              settlement, or other judgment, during a period of incarceration,
              such person shall be required to apply the value of such
              resources to any restitution or fine still owed.

18 U.S.C. § 3664(n). Therefore, the court has no authority to intervene in the distribution

of an estate’s assets, nor was any further court order required prior to the seizure of any

inheritance or settlement owed to defendant.

       IT IS, THEREFORE, ORDERED that the relief requested in petitioner’s Letter

(#348) is DENIED.




                                               Signed: August 27, 2012




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